  Case 2:18-bk-56656                    Doc 9 Filed 10/25/18 Entered 10/26/18 00:19:47                                      Desc Imaged
                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Matthew Gordon Hamilton                                           Social Security number or ITIN            xxx−xx−0154
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Briana Lynn Hamilton                                              Social Security number or ITIN            xxx−xx−4324
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of Ohio                     Date case filed for chapter 7 10/22/18
Case number: 2:18−bk−56656                Case Assigned To: Charles M Caldwell


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                 12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).


The staff of the bankruptcy clerk's office cannot give legal advice.


To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Matthew Gordon Hamilton                             Briana Lynn Hamilton

2.      All other names used in the
        last 8 years

3.     Address                               7772 G Montgomery St                                    9076 Salem Hollow Rd
                                             Fort Knox, KY 40121                                     New Straitsville, OH 43766

4.     Debtor's attorney                     Crystal I Zellar                                       Contact phone (740) 452−8439
                                             Zellar & Zellar, Attorneys at Law, Inc.
       Name and address                      720 Market St                                          Email: mail@zellarlaw.com
                                             Zanesville, OH 43701

5.     Bankruptcy trustee                    Brenda K. Bowers                                       Contact phone 614−464−6290
                                             52 East Gay Street
       Name and address                      PO Box 1008                                            Email: bkbowers@vorys.com
                                             Columbus, OH 43216−1008
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                               Certificate of Notice Page 2 of 4
Debtor Matthew Gordon Hamilton and Briana Lynn Hamilton                                                                 Case number 2:18−bk−56656
6. Bankruptcy clerk's office     170 North High Street                                                          Hours open 9:00 am − 4:00 pm
                                 Columbus, OH 43215−2414                                                        Monday through Friday
     Documents in this case may be filed at this
     address. You may inspect all records filed                                                                 Contact phone (614)469−6638
     in this case at this office or online at
     www.pacer.gov.
                                                                                                                Date: 10/23/18

7. Meeting of creditors                            December 19, 2018 at 09:00 AM                                Location:

     Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later         Zanesville City Hall, 401 Market
     questioned under oath. In a joint case,       date. If so, the date will be on the court docket. No        Street, City Council Chambers,
     both spouses must attend. Creditors may       unauthorized cellular phones, cameras, recording
     attend, but are not required to do so.        devices, weapons, pagers or other portable                   Zanesville, OH 43701
                                                   electronic devices are permitted on the court's
                                                   premises.


8. Presumption of abuse                            The presumption of abuse does not arise.
     If the presumption of abuse arises, you
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge                     Filing deadline: 2/19/19
                                                or to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                   You must file a complaint:

                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from discharge
                                                     under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:

                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                            Filing deadline: 30 days after the
                                                   The law permits debtors to keep certain property as          conclusion of the meeting of creditors
                                                   exempt. If you believe that the law does not authorize
                                                   an exemption claimed, you may file an objection.


10. Proof of claim                                 No property appears to be available to pay creditors. Therefore, please do not file a proof of claim
     Please do not file a proof of claim unless    now. If it later appears that assets are available to pay creditors, the clerk will send you another notice
     you receive a notice to do so.                telling you that you may file a proof of claim and stating the deadline.


11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the
    address                                        court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy
                                                   law if you have any questions about your rights in this case.


12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that
                                                   list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not
                                                   authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                                   must receive the objection by the deadline to object to exemptions in line 9.

13. Abandonment                                   Pursuant to L.B.R. 6007−1, the trustee may abandon property listed on the debtor's schedules upon
                                            the       request of any party in interest or upon the trustee's determination that there is no equity in the
                                            property      for the benefit of unsecured creditors and that the property is burdensome. Further notice to
                                            creditors      and other parties in interest is not required for the abandonment of any property unless a
                                            party in            interest, before the conclusion of the § 341 meeting, files a request for further notice of
                                            abandonment          with service of such notice on the trustee, or unless further notice is ordered by the court
                                            or requested by        the trustee.
If you would like to receive all future notices from the Bankruptcy Court electronically (email), you may register for the courts free Electronic
Bankruptcy Noticing (EBN) service. EBN is reliable, fast, and efficient. Additional details and registration are available at:
https://bankruptcynotices.uscourts.gov
  Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                      page 2
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                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 18-56656-cmc
Matthew Gordon Hamilton                                                                                    Chapter 7
Briana Lynn Hamilton
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0648-2                  User: dabneys                      Page 1 of 2                          Date Rcvd: Oct 23, 2018
                                      Form ID: 309A                      Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 25, 2018.
db             +Matthew Gordon Hamilton,    7772 G Montgomery St,    Fort Knox, KY 40121-2299
jdb            +Briana Lynn Hamilton,    9076 Salem Hollow Rd,    New Straitsville, OH 43766-9741
tr              Brenda K. Bowers,    52 East Gay Street,   PO Box 1008,    Columbus, OH 43216-1008
19537760        Beach Quarters,   Diamond Resorts Financial Services Inc,     PO Box 60480,
                 Los Angeles CA 90060-0480
19537761        CarMax Auto Finance,    Attn: Chief Financial Officer,    PO Box 440609,    Kennesaw GA 30160-9511
19537763        Diamond Resorts Mastercard,    Barclay Bank,   PO Box 8802,    Wilmington DE 19899-8802
19537766        IHG,   Chase Card Services,    PO Box 15298,   Wilmington DE 19850-5298
19537769        Maurices / Capital One Bank,    PO Box 30258,   Salt Lake City UT 84130-0258
19537771       +Mr Cooper,   Attn: Chief Financial Officer,    PO Box 619094,    Dallas TX 75261-9094
19537773       +Pam Nelson,   9180 Salem Hollow Rd,    New Straitsville OH 43766-9741
19537776       +TEG Federal Credit Union,    Attn: Chief Financial Officer,    1 Commerce St,
                 Poughkeepsie NY 12603-2608
19537777       +The Community Loan Co,    Attn: Chief Financial Officer,     2919 Maysville Pike,
                 Zanesville OH 43701-8578
19537778       +USAA Federal Savings Bank,    Attn: Chief Financial Officer,    PO Box 619094,
                 Dallas TX 75261-9094

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mail@zellarlaw.com Oct 23 2018 19:18:02       Crystal I Zellar,
                 Zellar & Zellar, Attorneys at Law, Inc.,    720 Market St,    Zanesville, OH 43701
tr              EDI: FBKBOWERS Oct 23 2018 23:04:00      Brenda K. Bowers,    52 East Gay Street,     PO Box 1008,
                 Columbus, OH 43216-1008
ust            +E-mail/Text: ustpregion09.cb.ecf@usdoj.gov Oct 23 2018 19:18:44        Asst US Trustee (Col),
                 Office of the US Trustee,   170 North High Street,     Suite 200,    Columbus, OH 43215-2417
19537762        EDI: CHASE.COM Oct 23 2018 23:04:00      Chase,    Customer Service,    PO Box 15298,
                 Wilmington DE 19850-5298
19537764       +EDI: WFNNB.COM Oct 23 2018 23:04:00      ElderBeerman / Comenity Bank,     Bankruptcy Dept,
                 PO Box 182125,   Columbus OH 43218-2125
19537765        EDI: RMSC.COM Oct 23 2018 23:04:00      Home / Synchrony Bank,     Bankruptcy Dept,
                 PO Box 965061,   Orlando FL 32896-5061
19537767        EDI: CBSKOHLS.COM Oct 23 2018 23:04:00      Kohls,    Customer Service,    PO Box 3043,
                 Milwaukee WI 53201-3043
19537768        EDI: RMSC.COM Oct 23 2018 23:04:00      Lowes / Synchrony Bank,     Attn Bankruptcy Dept,
                 PO Box 965060,   Orlando FL 32896-5060
19537770        EDI: CBSAAFES.COM Oct 23 2018 23:03:00      Military Star / The Exchange,     PO Box 650410,
                 Dallas TX 75265-0410
19537772       +E-mail/Text: bankruptcies@orangelake.com Oct 23 2018 19:18:17        Orange Lake Resorts,
                 Attn: Chief Financial Officer,    8505 W Irlo Brownson Memorial Hwy,     Kissimmee FL 34747-8217
19537774        E-mail/Text: collectionslegal@parknationalbank.com Oct 23 2018 19:19:06        Park National Bank,
                 Attn: Chief Financial Officer,    PO Box 3500,    Newark OH 43058-3500
19537775        E-mail/Text: bankruptcy@bbandt.com Oct 23 2018 19:18:51       Sheffield Financial,
                 Attn: Chief Financial Officer,    6010 Golding Center Dr,    Winston Salem NC 27103-9815
19537779        EDI: USAA.COM Oct 23 2018 23:03:00      USAA Federal Savings Bank,     10750 McDermott Freeway,
                 San Antonio TX 78288-0596
19537780       +EDI: TCISOLUTIONS.COM Oct 23 2018 23:04:00       Yamaha Motor Finance,
                 Attn: Chief Financial Officer,    PO Box 84240,    Sioux Falls SD 57118-4240
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 25, 2018                                            Signature: /s/Joseph Speetjens
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District/off: 0648-2         User: dabneys               Page 2 of 2                   Date Rcvd: Oct 23, 2018
                             Form ID: 309A               Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 23, 2018 at the address(es) listed below:
              Asst US Trustee (Col)   ustpregion09.cb.ecf@usdoj.gov
              Brenda K. Bowers   bkbowers@vorys.com, bkb@trustesolutions.net
              Crystal I Zellar   on behalf of Joint Debtor Briana Lynn Hamilton mail@zellarlaw.com,
               Zellar.law.mail@gmail.com
              Crystal I Zellar   on behalf of Debtor Matthew Gordon Hamilton mail@zellarlaw.com,
               Zellar.law.mail@gmail.com
                                                                                            TOTAL: 4
